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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,             :
                                      :
      v.                              :       No. 21-cr-609-APM
                                      :
JEREMY BROWN,                         :
    Defendant.                        :


                           NOTICE OF APPEARANCE

      COMES NOW, Allen H. Orenberg and, pursuant to the Criminal Justice Act,

hereby enters his appearance on behalf of the Defendant, Jeremy Brown, in the

above-captioned criminal cause.



                                      Respectfully Submitted,



                                      __________-S-___________________
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                             CERTIFICATE OF SERVICE

      I hereby certify that on the 1st day of December, 2021, a copy of the foregoing Notice

of Appearance, was delivered to case registered parties by the CM/ECF court system.




                                              ___________-S-___________________
                                              Allen H. Orenberg




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